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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES SHELTON                                     │ Case No. 2:18-cv-02071-CFK
                                                  │
                                                  │ Hon. JOSHUA D. WOLSON
                                                  │
               Plaintiff,                         │
       v.                                         │
FCS CAPITAL LLC et al.                            │
                                                  │
                                                  │
               Defendant.                         │

REO LAW, LLC
By: Bryan Anthony Reo
P.O. Box 5100
Mentor, OH 44061
(Business): (216) 505-0811
(Mobile): (440) 313-5893
(E): Reo@ReoLaw.org
Attorney for James Shelton


                             ORDER GRANTING PLAINTIFF’S
                            MOTION FOR SUMMARY JUDGMENT



       THIS MATTER came to be considered by the Court pursuant to the Plaintiff’s Motion for
Summary Judgment filed by Plaintiff in the above-captioned cause. The Court having considered
the Motion and being fully advised of the premises, it is, therefore,


       ORDERED and ADJUDGED:
       1.         That the Plaintiff’s Motion for Summary Judgment is hereby granted.
       2.         A hearing on damages is set for ______________.
       3.         Damages are determined as _____________.




       DONE AND ORDERED in Pennsylvania, Eastern District of Pennsylvania, this ____ day
of __________, 2019.

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    ___________________________________
    JOSHUA D. WOLSON- UNITED STATES DISTRICT COURT EASTERN DISTRICT
OF PENNSYLVANIA
    Copies to:
    Bryan Anthony Reo
    Clay Morrow
    Joshua Thomas




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